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                       UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE
______________________________
                                         )
UNITED STATES OF AMERICA                 )
                                         )
v.                                       )             Crim. No. 2:19-CR-00123-DBH
                                         )
DAMON FAGAN,                             )
           Defendant                     )
______________________________           )




                MOTION TO REOPEN SUPPRESSION HEARING
                        (HEARING REQUESTED)


      NOW COMES the Defendant, Damon Fagan, by and through his attorney, David

J. Bobrow, Esq., and respectfully requests that this Honorable Court reopen the

suppression hearing and denial of the Motion to Suppress stating as case the following:



                           ISSUE(S) PRESENTED:



      This Motion seeks, with supportive authority, to reopen the denial of a Motion to

Suppress. The underlying core issue before this Court is whether new information

regarding Trooper Darcy that creates a presumption of improper motives or bias towards

Daman Fagan would change its oral Order dated February 11, 2020 under Fourth

Amendment or Equal Protection Clause analysis.
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                            LEGAL STANDARD:



       " A ruling on whether to reopen a suppression hearing is governed by principles of

jurisprudence that relate to reopening proceedings, generally." United States v. Carter,

374 F.3d 399, 405 (6th Cir.2004), vacated on other grounds sub nom. Carter v. United

States, 543 U.S. 1111, 125 S. Ct. 1056, 160 L.Ed.2d 1045 (2005).

       The Federal Rules of Criminal Procedure do not expressly recognize a motion to

reconsider." United States v. Christy, 810 F.Supp.2d 1219, 1249 (D.N.M.2011)

(Browning, J.); accord United States v. Rollins, 607 F.3d 500, 502 (7th Cir.2010) ("None

of the Rules of Criminal Procedure authorizes a generic motion to reconsider; the

criminal rules lack a counterpart to the motions authorized by Fed.R.Civ.P. 50(b), 52(b),

or 59, though they do authorize some post-trial motions ... that have features in common

with motions under the civil rules." ). In the criminal context, however, courts ordinarily

apply the same standards as those used in civil cases when addressing motions to

reconsider. See Id. citing United States v. Healy, 376 U.S. 75, 84 S.Ct. 553, 11 L.Ed.2d

527 (1964); United States v. Dieter, 429 U.S. 6, 97 S.Ct. 18, 50 L.Ed.2d 8 (1976); United

States v. Ibarra, 502 U.S. 1, 112 S.Ct. 4, 116 L.Ed.2d 1 (1991)) (stating that the Supreme

Court of the United States has " concluded that motions to reconsider in criminal

prosecutions are proper and will be treated just like motions in civil suits" ); United States

v. Wilson, No. 08-cr-263-KHV, 2011 WL 1706890, at *1 (D.Colo. May 5, 2011) (stating

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that, in the context of criminal cases, courts ordinarily apply the same standard for a

motion to reconsider as the standard they use in civil cases).

       The United States Court of Appeals for the First Circuit has held that “motions for

reconsideration [motions to reopen] are appropriate . . . if the moving party presents

newly discovered evidence,” United States v. Allen, 573 F.3d 42, 53 (1st Cir. 2009). “A

court will deny a motion for reconsideration based on the new evidence exception if that

evidence in the exercise of due diligence could have been presented earlier.” Id. (quoting

Emmanuel v. Int'l Bhd. of Teamsters, Local Union No. 25, 426 F.3d 416, 422 (1st

Cir.2005) (internal quotation marks and citation omitted)).



                     STATEMENT OF UNCONTESTED FACTS:



       1. This matter is before the Court on the Government’s Single Count Indictment

          for Possession with Intent to Distribute Heroin in violation of 21 U.S.C.

          §841(a)(1). ECF #24.

       2. On or about January 6, 2019, Trooper John Darcy stopped the Defendant

          Damon Fagan, an African-American male, who was traveling northbound on

          the Maine State Turnpike. Transcript of Motion to Suppress, pg. 9-10




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         3. The basis for the stop of the vehicle was a lane change that allegedly ‘cut off’

             another vehicle. Id. at 12-13.1

         4. The statute allegedly violated is entirely subjective. 29-A M.R.S.A. §2070

             (using verbiage ‘until safely clear.’)

         5. The alleged infraction does not clearly appear on video. Suppression Videos,

             generally.

         6. Mr. Fagan filed a Motion to Suppress alleging there was no lawful basis for the

             stop of his vehicle. ECF #46, pg. 4.

         7. The Court conducted a hearing on February 6, 2020. ECF #66.

         8. In an oral Order dated February 11, 2020, the Court denied the Motion to

             Suppress. ECF #75.

         9. In late August of 2020, the attorney for the government, Nicholas Scott, Esq.

             contacted Attorney Goodman, then counsel for the Defendant, and explained,

             in substance, that a video recording in an unrelated matter before this Court,

             United States v. Walker, Case No. 2:19-cr-00220-JDL, may be relevant to Mr.

             Fagan’s arguments that the initial stop of him in this case was unlawful. ECF

             #106.

         10. On September 2, 2020, the government made the video recording available to

             Attorney Goodman. Id.


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  The Trooper also testified that the Defendant failed to use his turn signal but later acknowledged that this was not a
traffic infraction. Id. at 55-56.

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      11. Mr. Fagan could not have obtained this evidence through the exercise of due

            diligence. Id.

      12. That stop involved an African-American male named Terrel Walker. See

            United States v. Walker, CMECF 2:19-cr-00220.

      13. In that matter, Mr. Walker was driving Northbound on Interstate 95. Id. at

            ECF#55, 56, 58.

      14. After observing Mr. Walker, Trooper Darcy engaged in the following recorded

            exchange with another officer in the police vehicle:


      John Darcy: “Like, if I see a white thug, I’m going to be interested, just like a black
      thug or a fucking Chinese thug. Like, I’m interested in thugs. That’s not racial
      profiling. Like, some black guy goes by, and he’s just like a normal dude from
      Portland, I don’t give a fuck. You know what I mean, like whatever. This guy kinda
      looks like a thug to be honest with you.”

      Patrick Pescitelli: “The guy… you see the guy driving?”

      John Darcy: “Yeah, he’s wearing a wifebeater, he’s got dreads. He looks like a
      thug. He may not be . . . and I’m not profiling him racially because I don’t care that
      he’s white or black. White kid, neck tats all over him, fucking sideways hat, thug.
      You know what I mean? So like . . . I get . . . I hate when people try to make it seem
      like that’s what it is. I care about where people are from, and the way they seem . .
      . you know what I mean? Do they seem like they can be involved in drug dealing
      or gangs or something. I don’t give a fuck if someone’s black or white. Like . . .
      and I like saying this, like Nicole has a niece who is half-black. I’ll tell someone,
      ‘Dude, my fucking niece is half-black.’ Like, don’t play that racial shit with me.”

      Id.

      15. Trooper Darcy’s stated purpose of the stop was Mr. Walker’s travel in the center

            lane of the three-lane Northbound section of I-95. Id.

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           16. Trooper Darcy claimed to have stopped Mr. Walker in violation of 29-A

               M.R.S. § 2052, which restricts drivers on divided highways to “ordinary

               operation to the right-hand lane and may use adjacent lanes for overtaking and

               passing another vehicle, but must return to the right-hand lane at the earliest

               opportunity.” 29-A M.R.S.A. § 2052(6). Id.2 That language, similar to 29-A

               M.R.S.A. §2070, is also subjective (using verbiage ‘earliest opportunity.’)

           17. Mr. Fagan is seeking to reopen his suppression hearing based on the new

               information that could not be presented at the initial suppression hearing and

               hereby supplements the prior pleading filed by Attorney Goodman, ECF #115.3

           18. Additionally, undersigned counsel is aware of another matter where Trooper

               Darcy followed a vehicle where the passenger was an African-American male

               that was allegedly operating erratically but with no specific violation, from the

               York Toll Plaza until it was stopped in Portland. See United States v. Martin,

               CMECF 2:18-cr-00124.

           19. That alleged infraction also was not captured on video. Id.

           20. These cases are clearly not in isolation.

               https://www.pressherald.com/2020/10/08/criminal-case-dropped-as-state-

               trooper-faces-racial-profiling-allegations/.


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  It is noteworthy that the Government dismissed the case against Mr. Walker. Walker ECF #66. It is further
noteworthy that the stop in that matter was based on the allegation that the vehicle did not immediately return to the
travel lane while this matter, it is based on the allegation that the vehicle did too quickly.
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    The pleading was characterized as a Motion to Reconsider.

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         21. Trooper Darcy has previously been accused of racial profiling before this

              Court. See United States v. Anthony Jones, Case 2:19-cr-201, ECF #47, Order

              on Motion for Discovery.



                                             ARGUMENT:



         I.       EVIDENCE THAT COULD NOT BE OBTAINED PRIOR TO THE
                  SUPPRESSION HEARING UNDERMINES THE TESTIMONY OF THE
                  POLICE OFFICER4


         This very Court has previously held that “there is no reason now to reopen the

record so as to allow generalized testimony about racial profiling and disparate treatment.

Lawyers will always have second thoughts and more ideas, but matters must come to an

end.” United States v. Artis, Crim. 2:17-cr-102-DBH.

         In this matter, evidence that could not be obtained prior to the suppression hearing

provides specific information related to racial profiling and disparate treatment by the


4
  The specific information that absolutely could not be obtained prior to the suppression hearing is all evidence
related to the United States v. Walker matter. The Government may argue that the other information referenced,
which includes impeachment evidence, could have been obtained. This would be asking the Government to be
relieved of discovery obligations that existed once they became aware of the Walker evidence. United States v.
Burton, 81 F.Supp. 3d at 1254 (directing the United States to “take a second look” at certain reports “to determine
whether they contain any material that must be disclosed”). Courts “are almost unanimous in holding that in
response to a specific motion . . . the prosecution is required to review the identified personnel file for Brady
material.” Snowden v. State, 672 A.2d 1017, 1023 (Del. 1996)(Holland, J.). See Milke v. Ryan, 711 F.3d 998, 1006
(9th Cir. 2013); United States v. Quinn, 123 F.3d 1415, 1421 (11th Cir. 1997)(requiring the government to search
personnel records for Brady or Giglio material). Similarly, the current United States Attorneys’ Manual also requires
prosecutors “to seek all exculpatory and impeachment information from . . . federal, state, and local law enforcement
officers and other government officials participating in the investigation and prosecution of the criminal case against
the defendant.” United States Attorneys’ Manual §9-5-001(B)(2)(2014).

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Government’s only witness. Statement of Uncontested Facts (hereafter ‘Facts’) at 9-21.

This evidence creates a genuine issue of fact based on the bias of the officer which

correlates directly to whether there was actual probable cause to initiate the stop of Mr.

Fagan. While the district court has wide discretion in determining when to reopen an

evidentiary hearing, it abuses its discretion where the new evidence creates a genuine

factual dispute on an outcome determinative fact." United States v. Mercadel, 75

Fed.Appx. 983, 2003 WL 21766541, at *6 (5th Cir.2003) (unpublished table decision).

       Courts have recognized that evidence would create a genuine factual dispute on an

outcome determinative fact if it "significantly bolsters" a key witness' credibility "or goes

to whether [the officer] in fact had probable cause," among other matters. United States

v. Mercadel, 2003 WL 21766541, at *6 (emphasis added); United States v. Atkins, 1 F.3d

1247, 1993 WL 290157, at *2 (9th Cir.1993) (unpublished table decision) ("Because the

new evidence in this case went to the heart of the magistrate judge's credibility

determination underlying the denial of Atkins's suppression motion, the district court

should have reopened to consider Weiss's credibility in light of the newly-discovered

evidence’); see also United States v. Henderson, 463 F.3d 27 *; 2006 U.S. App. LEXIS

22852 (1st Cir. 2020).

       In this matter, the basis for the stop of Mr. Fagan’s vehicle was completely

subjective. See 29-A M.R.S.A. §2070 (using verbiage ‘until safely clear.’) The officer

initiating the stop is on video stating that he will engage in profiling based on his

subjective determination of those he views as ‘thugs.’ Facts at 14. “The ordinary person,

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looking at these facts, would, I believe, readily say: The officer(s) wanted to search

{Fagan}… {and}found a way … .” United States v. Weaver, 18-1697 (2nd Cir.

2020)(Guido Calabresi, J. concurring). And that is clearly the appropriate conclusion

here; Trooper Darcy, who has stated that he stops people who he perceives to be thugs

found a way to stop Mr. Fagan based on a purely subjective statute, exactly as he did with

Mr. Walker.5 While the conclusion that Trooper Darcy simply ‘found a way’ would be

appropriate prior to the existence of the Walker audio, it is an unavoidable conclusion

with it. It is new evidence in the form of an essential material fact existing after this

Court’s decision. The Court will grant a motion for reconsideration where "[t]here are

new material facts that happened after the Court's decision." United States v. Bernal, CR-

12-01627-PHX-DGC citing Motorola, Inc. v. J.B. Rodgers Mech. Contractors, Inc., 215

F.R.D. 581, 586 (D. Ariz. 2003) (emphasis in original).



           II.      THE EVIDENCE THAT COULD NOT BE PRESENTED WOULD
                    SHOW AN EQUAL PROTECTION VIOLATION


           Even if the Court finds that the stop of Mr. Fagan was proper, there is ample

evidence, that could not be presented at the suppression hearing (starting with Trooper

Darcy’s own verbiage) that he engages in selective enforcement. “[T]he Equal Protection

Clause of the Fourteenth Amendment provides citizens a degree of protection



5
    As well as Mr. Martin and Mr. Jones. Facts at 18-21.

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 independent of the Fourth Amendment protection against unreasonable searches and

 seizures.” Marshall v. Columbia Lea Reg’l Hosp., 345 F.3d 1157, 1166 (10th Cir.

 2003)(quoting United States v. Avery, 137 F.3d 343, 352 (6th Cir. 1997)). “We think these

 cases foreclose any argument that the constitutional reasonableness of traffic stops

 depends on the actual motivations of the individual officers involved. We of course agree

 with petitioners that the Constitution prohibits selective enforcement of the law based on

 considerations such as race. But the constitutional basis for objecting to intentionally

 discriminatory application of laws is the Equal Protection Clause, not the Fourth

 Amendment. Subjective intentions play no role in ordinary, probable-cause Fourth

 Amendment analysis.” Whren v. United States, 517 U.S. 806, 813 (1996).

        A racially selective law enforcement claim exists where the government conduct

 had a discriminatory effect and where a discriminatory purpose motivated the conduct.

 See Columbia Lea Reg’l Hosp., 345 F.3d at 1168 (“The requirements for a claim of

 racially selective law enforcement draw on what the Supreme Court has called ‘ordinary

 equal protection standards.’ The plaintiff must demonstrate that the defendant’s actions

 had a discriminatory effect and were motivated by a discriminatory purpose.”)(quoting

 United States v. Armstrong, 517 U.S. at 465). “The discriminatory purpose need not be

 the only purpose, but it must have been a motivating factor in the decision.” Columbia

 Lea Reg’l Hosp., 345 F.3d at 1168 (citing Villanueva v. Carere, 85 F.3d 481, 485 (10th

 Cir. 1996)).



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        The stop in this matter was undoubtedly with a discriminatory purpose because

 Trooper Darcy stops African-American males who he views subjectively as ‘thugs.’

 Facts at 14. Even without the requested additional discovery (see Motion for Discovery

 filed contemporaneously), there is ample evidence of Trooper Darcy actively engaging in

 discriminatory stops. Facts at 2-21. This is, unfortunately, not an uncommon theme.

 Pierson, Simou, Overgoor, Corbett-Davis, Jenson, Shoemaker, Ramachandran,

 Barghouty, Phillips, Shroff, & Goel, A Large-Scale 13 Analysis of Racial Disparities in

 Police Stops Across the United States, 4 Nature Human Behavior 736, 736, 737 (2020)

 (analysis of approximately 95 million stops nationwide found that [r]elative to their share

 of the residential population, . . . [B]lack drivers were, on average, stopped more often

 than white drivers); LaFave, The Routine Traffic Stop" from Start to Finish: Too Much

 Routine, Not Enough Fourth Amendment, 102 Mich. L. Rev. 1843, 1853 (2004);

 Whitehead v. State, 116 Md. App. 497, 507 n.4 (1997) ("studies conducted on a stretch of

 Interstate 95 between Baltimore and Delaware revealed that 93% of all drivers committed

 some type of traffic violation"); see also Carbado, From Stopping Black People to Killing

 Black People: The Fourth Amendment Pathways to Police Violence, 105 Cal. L. Rev.

 125, 151 (2017) (Carbado) (describing "the ways in which traffic stops function as

 gateways to more intrusive searches and seizures.”) The difference is that reasonable

 minds can believe the actions of officers like Trooper Darcy are with discriminatory

 intent, but here, Trooper Darcy boosts about his ability as an officer to do exactly what is

 generally believed; stop black males because he does not like the way they look. That is

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 the clear definition of an equal protection violation. United States v. Avery, 137 F.3d 343,

 355 (6th Cir. 1997)(“If law enforcement adopts a policy, employs a practice, or in a given

 situation takes steps to initiate an investigation of a citizen based solely upon that

 citizen’s race, without more, then a violation of the Equal Protection Clause has

 occurred.”)

        WHEREFORE, Defendant Damon Fagan respectfully moves this Court to reopen

 and subsequently, reconsider this Court’s denial of his motion to suppress all evidence

 obtained as a result of the unlawful and discriminatory stop of Damon Fagan.



        Dated this 19th day of October 2020 at Portland, Maine.

                                                    Respectfully submitted,

                                                    David J. Bobrow, Esq.
                                                    Attorney for Damon Fagan
                                                    BEDARD AND BOBROW, PC
                                                    9 Bradstreet Lane
                                                    P.O. Box 366
                                                    Eliot, ME 03903
                                                    207.439.4502
                                                    djblaw@bedardbobrow.com




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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE
 ______________________________
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 UNITED STATES OF AMERICA                        )
                                                 )
 v.                                              )     Crim. No. 2:19-CR-00123-DBH
                                                 )
 DAMON FAGAN,                                    )
              Defendant                          )
 ______________________________                  )


                             CERTIFICATE OF SERVICE


       I, David J. Bobrow, Esq., hereby certify that I have caused to be served via ECF
 Defendant Damon Fagan’s Motion to Reopen to:

       1.     Nicholas Scott, Esq. at <Nicholas.Scott@usdoj.gov>;
       2.     All other persons of record in this matter.


       Dated this 19th day of October 2020 at Portland, Maine.
                                                Respectfully submitted,

                                                 David J. Bobrow, Esq.
                                                 Attorney for Damon Fagan
                                                 BEDARD AND BOBROW, PC
                                                 9 Bradstreet Lane
                                                 P.O. Box 366
                                                 Eliot, ME 03903
                                                 207.439.4502
                                                 djblaw@bedardbobrow.com




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